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 STATE OF SOUTH CAROLINA                                IN THE COURT OF COMMON PLEAS
                                                         FOURTEENTH JUDICIAL CIRCUIT
 COUNTY OF HAMPTON
                                                             CASE NO.: 2019-CP-25-00111
 Renee S. Beach, as Personal Representative of
 the Estate of Mallory Beach,

        Plaintiff,
                                                                        ORDER
 V.


 Gregory M. Parker, Inc. a/k/a Parker's
 Corporation, Richard Alexander Murdaugh,
 Richard Alexander Murdaugh, Jr.; John
 Marvin Murdaugh, as Personal Representative
 of the Estate of Margaret Kennedy Branstetter
 Murdaugh, and Randolph Murdaugh, IV, as
 Personal Representative of the Estate of Paul
 Terry Murdaugh,

        Defendants.




       This matter is before the Court by Peter M. McCoy, Jr. and John T. Lay, Jr. ("Co-Receivers")

Motion for Consideration and Approval of a Proposed Settlement with Palmetto State Bank dated

August 19, 2022, by. A hearing was held on September 1, 2022. For the reasons presented in the

Motion and at the hearing, it is hereby ORDERED that the Motion is granted. The Co-Receivers

are permitted to execute the Settlement Agreement with Palmetto State Bank attached hereto is
                                                                                                      CASE#2019
                                                                                                      PLEAS
                                                                                                      -ELECTRON
                                                                                                      COMMON
                                                                                                      HAMPTON
                                                                                                      AM
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                                                                                                       -2022
Exhibit A.




                                                 1


                                                                                         EXHIBIT 2
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ELECTRONICALLY FILED -2022 Sep 19 11:31 AM - HAMPTON - COMMON PLEAS - CASE#2019CP2500111




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             to
             Signature
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                                                 Hampton Common Pleas


  Case Caption:               Renee S. Beach , plaintiff, et al VS Gregory M. Parker, Inc.,
                              defendant, et al
  Case Number:                2019CP2500111

  Type:                       Order/Approval Of Settlement



                                                          So Ordered

                                                          s/Daniel D. Hall 2753



  Electronically signed on 2022-09-19 10:53:58    page 3 of 3
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                           SETTLEMENT AGREEMENT AND RELEASE
                                                                                                                    (') -6-
                                                                                                                    >>
         This Settlement and Release Agreement ("Agreement") is made this                                day of     r-
                                                                                                                        r_
                                                                                                                     rm
                                                                                                                    F r=
           , 2022 by and between John T. Lay, Jr. and Peter M. McCoy, Jr. as Co-Receivers                           m rn
                                                                                                                    o0
("Receivers") and Palmetto State Bank, N.A. ("Bank") in order to resolve all outstanding debt
                                                                                                                    w cr,
owed by R. Alexander Murdaugh ("Alex Murdaugh") either directly or indirectly' to the Bank                           _o
                                                                                                                      -6;
as well as all claims and defenses of Alex Murdaugh or the Receivers arising out of or related to

such debt or any financial transactions involving Alex Murdaugh and the Bank including those                        >

in which Russell Laffitte participated in his capacity as an employee or officer of the Bank or in                  >>
                                                                                                                    -a 73
a personal fiduciary capacity (hereinafter collectively the "Settled Debts and Claims"). Except                     00
                                                                                                                    zz
as specifically provided for herein, it is the Receivers' and the Bank's intention that this                        o
                                                                                                                    0°
Agreement shall resolve the Settled Debts and Claims.                                                               0
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         The Receivers were appointed by Order of the FIonorable Judge Daniel D. Hall dated
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                                                                                                                    (no
November 4, 2021 ("Receiver Order")2 for the purpose of securing and maintaining Alex
                                                                                                                    o
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                                                                                                                    cf) m
Murdaugh's assets and as otherwise stated therein. The Receivers, as part of their instructions                     m4t
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from the Receivership Court, have undertaken to review and consider Alex Murdaugh's various                             co
                                                                                                                    o0
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assets in order to establish and maintain the assets subject to the receivership ("Receivership                     c7ic,
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Estate"). As a part of their appointment, the Receivers reviewed all Palmetto State Bank

outstanding debt, as listed in this Agreement, impacting Alex Murdaugh's assets and his financial

condition, as well as many of the records relating to his accounts with the Bank. The following



 This Agreement encompasses debt owed by 0 United Drive, LLC and Redbeard, LLC to the Bank as Alex Murdaugh
has an ownership interest in both entities.

2 The Receivers were appointed in the matter Renee S. Beach, as Personal Representative of the Estate of Mallory
Beach vs. Gregory M. Parket-, Inc. a/k/a Parker's Corporation d/b/a Parkers 55, Luther's Rate and Well Done, LLC,
Kristy C. Wood, James M. Wood, Richard Alexander Murdaugh, Richard Alexander Murdaugh, Jr., Randolph
Murdaugh, Ill, Individually and as Trustee of the Murdaugh Residence Trust 2, and The Murdaugh Residence Trust
2 Civil Action No. 2019-CP-25-00111 ("the Beach Case").
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Agreement represents the culmination of the Receiver's assessment and lengthy negotiations            zz
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with the Bank resulting in a compromise of disputed claims and defenses.                              r- >
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        The debt this Agreement applies to include the following loans (collectively "Loans" or
                                                                                                      u0
                                                                                                          ,
delineated as "Secured Loans" and "Unsecured Loans"):                                                 o ci
                                                                                                          NN
        1. Loan Number 6974140. Secured by a mortgage filed in Berkeley County against                CD (1)
                                                                                                         (I)

                                                                                                          c-A
             real estate owned by 0 United Drive, LLC (along with Loan 6974141 "Berkeley

             County Properties").                                                                     >

        2.   Loan Number 6974141. Secured by a mortgage filed in Berkeley County against              >>
                                                                                                        -u
             real estate owned by Redbeard, LLC.                                                      H
                                                                                                      oo
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        3. Loan Number 6979180. Secured by property at 3606 Big Bay Drive Edisto, SC in               o0
                                                                                                      oo
             Colleton County.
                                                                                                      9
        4. Loan Number 6978806. Secured by a portion of the property known as Moselle
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             totaling approximately 914 acres.
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        5. Loan Number 6987336. Secured by the total property known as Moselle in both
                                                                                                      le*
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             Hampton and Colleton County totaling approximately 1,770 acres.                             (c)
                                                                                                      oo
       6. Loan Number 6970489. Secured by a mortgage on various islands referred to as the
                                                                                                      0 CD

             Williams Islands as documented in Beaufort County.

       7. Loan Number 6991524. Unsecured debt with Randolph Murdaugh III as co-borrower.

       8. Loan Number 6996048. Unsecured debt.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of

which are hereby acknowledged, and in consideration of the mutual undertakings and promises

contained herein, the Receivers and the Bank (collectively "the Parties"), hereby agree as follows:

1.   The Receivers (in their capacity as court-appointed receivers) and on behalf of Alex




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      Murdaugh hereby release and forever discharge the Bank, its holding company

     (Palmetto Bankshares), its subsidiary corporations and companies, its past, current, and

     future directors, officers, employees, representatives, successors, and assigns from any

     and all causes of action, claims, losses, and defenses involving the Settled Debts and

     Claims, whether known or unknown, arising now or in the future, at law or in equity

     except as otherwise documented in this Agreement and so long as the Bank does not

     initiate an action against Alex Murdaugh outside of the Receivership Court, or an action

     within the Receivership Court for seeking damages other than those directly and

     specifically related to the Loans described below. In the event the Bank initiates an

     action outside of the Receivership Court or an action seeking damages other than those

     directly and specifically related to the Loans, Alex Murdaugh and the Receivers on his

     behalf will be entitled to raise any and all defenses available to him as well as bring any

     claims against the Bank related to the particular action. This release excludes all rights

     of the Receivers and obligations of the Bank established by the terms of this Agreement.

2.   Pursuant to the Order for Temporary Injunction entered on November 4, 2021 in the

     Beach Case, Alex Murdaugh is barred from encumbering his assets. Although the Bank

     has no intention of doing so, the Bank agrees it will not extend any additional funds to

     Alex Murdaugh in a manner that will encumber any of Alex Murdaugh's assets without

     first seeking the approval of the Receivership Court so long as the Receivership remains

     in place. The Bank's obligation not to encumber any of Alex Murdaugh's assets as

     described in this Paragraph shall not be understood to exclude its right to seek payment

     of the amounts still outstanding on any Unsecured Loans and any Secured Loans (after

     receipt of the payments to be applied against the principal amount of the respective




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     Secured Loans to release the Bank's mortgage liens from the sale of the real properties)     zz
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     from the Receivership Estate or the Receivership Court for the satisfaction of the unpaid
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     indebtedness of Alex Murdaugh as further described herein, which claims shall not be        mm
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     considered an action outside of the Receivership Court or an action seeking damages          01\3
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     other than those directly and specifically related to the Loans                             -0 -0(,)
                                                                                                     <31
3.   The Bank will dismiss with prejudice, within three (3) business days after the Court

     approval of this Settlement Agreement, the action entitled Palmetto State Bank -            > 73

     Hampton a/k/a Palmetto State Bank vs. E. David Grubbs, Jr., Thomas M Boulware, and          >>
                                                                                                     73
     Joshua M. Hulen Civil Action No. 2022-CP-10-02415 filed on May 26, 2022 in an

     attempt to collect against guaranties of the debt owed by 0 United Drive, LLC and           08

     Redbeard, LLC. The dismissal is attached hereto as Exhibit A.                               0°
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4.   The Bank further agrees to release David Grubbs, Thomas Boulware and Josh Hulen             r- m
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     from any and all claims it might have against those individuals for payment of or
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     contribution towards any debt owed by Alex Murdaugh, 0 United Drive, LLC and                   rIT1t
                                                                                                    ,)
                                                                                                 00
     Redbeard, LLC to the Bank or any deficiency judgment(s) the Bank obtains in the future      8(0
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     related to debt owed by Alex Murdaugh, 0 United Drive, LLC, and Redbeard, LLC. The          01 Cri
                                                                                                 CD 0
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     Mutual General Release between the Bank, Hulen, Grubbs and Boulware is attached

     hereto as Exhibit B ("Release"). The Bank, Grubbs, Hulen and Boulware will execute

     the Release withing three (3) business days after the Court approval of this Settlement

     Agreement. The Release shall include a provision specifying that any and all guaranty

     documents executed by David Grubbs, Thomas Boulware, and Josh Hulen securing any

     debt owed by Alex Murdaugh, 0 United Drive, LLC or Redbeard, LLC are deemed to

     be void.




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5.   The Bank will dismiss without prejudice the foreclosure action initiated against 0 United

     Drive, LLC and Redbeard, LLC in Berkeley County. The dismissal is attached hereto

     as Exhibit C.

6.   The Bank agrees not to seek any separate debt collection from Alex Murdaugh or entities

     in which Alex Murdaugh has an interest except by and through the Receivership Court

     with the exception that the Bank may initiate a foreclosure action against the Berkeley

     County Properties pursuant to. the following terms and conditions:

     a. The Bank shall not initiate any such foreclosure action prior to July 1, 2024 or the

          termination of the Receivership, whichever is later;

     b. To the extent the foreclosure action is initiated while the Receivership is still in place,

          such foreclosure action shall be limited to the amounts detailed in Paragraph 7 below;

          and

     c. To the extent the Bank brings a foreclosure action in regard to the Berkeley County

          Properties and the underlying Secured Loans at such time as permitted by this

          Section 6, Alex Murdaugh and the Co-Receivers retain and may assert any and all

          defenses, counterclaims, and arguments that it has against the Bank in such action as

          if this Agreement did not exist.

7.   The Bank agrees to release its mortgage liens securing the various Secured Loans and

     execute recordable releases of such mortgage lien upon the Bank's receipt of the

     following amounts (all specified amounts shall be paid by wire transfer directly to the

     Bank at the time of closing on the sale of the applicable property):

      •         Loan Number 6974140. The mortgage(s) securing any property owned by 0

                United Drive, LLC will be released upon the Bank's receipt of: $257,761.82.




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     •    Loan Number 6974141.           The mortgage(s) securing any property owned by

          Redbeard, LLC will be released upon the Bank's receipt of $312,896.71.

     •    Loan Number 6979180. The mortgage(s) securing the property located at 3606

          Big Bay Drive Edisto, SC was released upon the Bank's receipt of: $153,329.71

          plus receipt of the amounts paid for taxes and insurance by the Bank for this

          property.

     •    Loan Numbers 6978806 and 6987336. The Bank hereby grants to the Receivers

          the right to receive $150,000 of the principal amount of these two loans as well

          all the accrued interest and late fees at the time of the sale of the properties secured

          by these two mortgages. The mortgages filed on the property known as Moselle

          totaling approximately 1,770 acres ("Moselle Mortgages") and securing both

          loans numbers 6978806 and 6987336 ('Moselle Loans") shall be released upon:

          1) the payment to the Bank from closing of $1,690,856.22 of principal plus the

          amount of property taxes paid by the Bank and the amount of the premiums paid

          by the Bank for force-placed property insurance) and 2) the payment to the

          Receivership Estate from closing of $150,000 plus any and all late fees and

          interest due and owing on the Moselle Loans as of the date of the sale. The Bank

          will not release the Moselle Mortgages until such amounts have been received by

          the Bank and Receivership Estate. In the event the Moselle Property is sold in

          separate parcels such that the loans are repaid at different times, the Bank shall

          receive the principal amount of that the first applicable Moselle Loan less

          $150,000 plus the amount of any property taxes and force-placed insurance on

          that property and the Receivership Estate shall receive $150,000 plus all late fees




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           and interest due on that Moselle Loan as of the date of sale. On the sale of the

           second Moselle property, the Bank shall receive 100% of the outstanding

           principal of that Moselle Loan plus the amount of any property taxes and the

           amount of the premiums paid by the Bank for force-placed insurance on that

           property, and the Receivership Estate shall receive the interest and late fees due

           on that Mosselle Loan at the time of closing. If there are separate sales, the Bank

           shall not release the respective Moselle Mortgages until the respective payments

           are made to both the Bank and the Receivership Estate.       In no event shall the

           Bank receive more than a total of $1,690,856.22 in principal plus repayment of

           property taxes and force-placed insurance at the time of the sales of Moselle

           Properties.    The Bank and the Receivers shall provide notice of any sale or

          proposed sale of Moselle to the other within two (2) days of either receiving notice

          of such sale. Prior to sending a pay-off amount to any closing attorney, current

          owner of Moselle, or potential buyer, the Bank shall provide the Receivers with

          written notice of the pay-off amount, which shall include the itemized amounts

          owed to both the Bank and the Receivers pursuant to this Agreement. This notice

          of the pay-off amount prior to providing the same to a third party allows the

          Receivers the ability to understand the calculation of late fees and interest due

          upon the date of the sale as well as insure the correct amount will be transmitted

          to the Receivership Estate from the closing. The Bank shall instruct the closing

          attorney to disburse the payoff amount to the Bank and the Receivership Estate at

          closing per the terms of this section and shall provide a copy of such instructions

          to the attorney for the Receivers when transmitted.




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       •       Loan Number 6970489. The mortgage lien on property referred to as the Williams

               Islands as documented by filings in Beaufort County will be released upon the

               Bank's receipt of $54,119.80.

As reflected in the above amounts, the Bank will not receive or collect any interest, attorney's

fees, and late charges associated with the Loans at the time of a sale as a condition precedent

to releasing the associated mortgage lien.

8.   Nothing in this Agreement precludes the Bank from seeking payment by application to

     the Receivership Court for any amounts of outstanding principal, interest and late fees

     for the Loans that remain unpaid and unassigned after the release of the above listed

     mortgage liens.    Except as provided herein, the Receivers agree that they shall not

     contend in any such proceeding that the underlying obligations or promissory notes of

     the Bank are void or invalid in any manner, consistent with the release and settlement of

     the Settled Debts and Claims herein. Nothing in this Agreement shall constitute a release

     or discharge by the Bank of any claims, causes of action, rights, or remedies it has against

     Alex Murdaugh related to the Loans or otherwise.

9.   The Receivers agree to withdraw the current outstanding subpoena to the Bank dated

     March 2, 2022 as well as the current outstanding subpoena to Russell Laffitte dated April

     22, 2022, and agree to refrain from issuing future subpoenas on the Bank or causing

     them to be issued through others except in the course of the Receivers' investigation of

     Alex Murdaugh's or Buster Murdaugh's assets; any such subpoena shall be narrowly

     crafted to target the particular records sought. Before issuing such subpoena, the attorney

     for the Receivers shall communicate with the attorneys for the Bank to provide them

     advance notice, the reason for the subpoena, and the scope of the subpoena.




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10. The Receivers agree to close Russell Laffitte's current outstanding deposition initiated              z
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     on February 24, 2022 that was adjourned with the exception that the Receivers may seek               r-
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     additional information from Russell Laffitte related to his knowledge of Alex                       mm
                                                                                                         C) 0
     Murdaugh's assets and the value of the same.                                                        o°

11. This Agreement is entirely contingent on its approval by the Receivership Court. Upon                -0(i)-o

     approval, this Agreement shall be binding upon and inure to the benefit of the Parties and their

     respective successors, assigns and heirs and with regard to the Bank, its officers, employees,      >73
                                                                                                         EE
     current and former board members, representatives, agents, counsel, shareholders,                   >>
                                                                                                         -o
     members, assigns, successors, subsidiary or parent entities.                                        00
                                                                                                         zz
12. This Agreement shall be governed by and interpreted in accordance with the laws of the State
                                                                                                         0°8
     of South Carolina.                                                                                  E
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13. This Agreement may be executed in counterparts, and all counterparts shall be deemed to              r-
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     constitute a single agreement. The execution and delivery of such counterpart by any person
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     shall have the same force and effect as if that person had executed all other counterparts.         m r4Tg
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14. All Parties agree and understand that time is of the essence as it pertains to sales of the
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                                                                                                         cri Cr'
     properties in question and that all Parties will work diligently with respect to their respective
                                                                                                         0 0

     obligations herein associated with such sales in a timely manner.

15. All prior negotiations, representations, and agreements between the Parties of any kind

    relating to the disputes settled in this Agreement, whether oral, written, express, implied,

    collateral or concurrent, are merged into this Agreement, and this Agreement shall

    constitute the complete and total agreement of the Settling Parties of any such disputes such

    that if the terms of this Agreement conflict with the terms of a prior agreement between the

    Parties, this Agreement controls.




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16. No modification of this Agreement shall be effective unless in writing and signed by all the

      Parties and approved by the Receivership Court.

17.   By executing this Agreement, the undersigned representative of the Bank stipulates,

      agrees and warrants that he or she has the necessary and appropriate authority and

      capacity to execute this Agreement and to make this Agreement fully binding upon and

      enforceable against the Bank.

18.   By entering into this Agreement, the Bank stipulates, agrees and warrants as follows:

      a. The terms of this Agreement are reasonable;

      b. The Bank is the sole and lawful owner of all rights and interests in the Loans and

          their associated contracts, Promissory Notes, Guaranties, and mortgages and the

          Bank has not assigned, transferred, or conveyed (1) any right to collect the above

          referenced Loans or (2) any contract, Promissory Note, Guaranty, or Mortgage

          associated with the Loans or any right to enforce or collect the same except for the

          right granted to the Receivers in Paragraph 7 herein related to the Moselle Loans...

      c. The Bank is aware of no mortgage or lien it possesses against the above referenced

          properties other than those detailed herein that would prevent the Receivers from

          conveying clean title. To the extent any such mortgages or liens are discovered, they

          will be released pursuant to the terms detailed herein.

      d. The Bank is aware of no other Secured Loan owed to the Bank by Alex Murdaugh

          other than those listed in this Agreement.

19.   Each of the Parties has participated equally in the drafting of this Agreement and, as such,

      this Agreement shall be construed equally in favor of all Parties and shall not be construed

      against any of the Parties due to the identity of the drafter.




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20. The Parties represent and agree that they have had a full opportunity to read the terms of this   zz
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      Agreement and to have counsel of their choice explain the terms of this Agreement to them.
                                                                                                      FF
      The Parties further represent and agree that they understand the terms of this Agreement,       mm
                                                                                                      r.)
      agree to those terms and execute this Agreement voluntarily and without duress of any kind.     r.)
                                                                                                      w0
21.   This Agreement settles and compromises contested claims and defenses to avoid the                    wcp

      expense, risk, and other burdens of extended litigation. Neither this Agreement nor any

      provision herein shall be considered an admission of liability, fault or wrongdoing by the      >

      Parties hereto who deny such alleged liability, fault or wrongdoing.                            >>

22. No statements or agreements set forth in this Agreement shall in any way inure to the benefit     zo

      of any third party. This Agreement shall not create or give to any third person or entity any   °8

      right, claim, benefit, defense or cause of action against any party hereto nor shall it be      0°
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      construed as any admission by any party that any compensation is owed to any third party        r- r-
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      not specifically identified in this Agreement.                                                      0'
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                            - SIGNATURE PAGE —

          SETTLEMENT AND RELEASE AGREEMENT BY AND BETWEEN


                                   John T              are, Co-Receiver




                                   Date:         44        j




                                               Coy, Jr., Esquire, Co-Receiver




                                  Palmetto State Bank, N.A.
                                  By and through its


                                  Printed Name


                                  Signature



                                  Date:




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                        - SIGNATURE PAGE —

     SETTLEMENT AND RELEASE AGREEMENT BY AND BETWEEN


                                John T. Lay, Jr., Esquire, Co-Receiver




                                Date:



                                Peter M. McCoy, Jr., Esquire, Co-Receiver




                                Date:




                                Date:




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                                       EXHIBIT A
 STATE OF SOUTH CAROLINA                                  IN THE COURT OF COMMON PLEAS
                                                               FIFTH JUDICIAL CIRCUIT
 COUNTY OF CHARLESTON
                                                           Civil Action No.: 2022-CP-10-02415
 Palmetto State Bank—Hampton a/k/a Palmetto
 State Bank,

                          Plaintiff,                        STIPULATION OF DISMISSAL
        VS.                                                      WITH PREJUDICE

E. David Grubbs, Jr., Thomas M. Boulware,
and Joshua M. Hulen,
                        Defendants.

        Palmetto State Bank — Hampton a/k/a Palmetto State Bank, E. David Grubbs, Jr., Thomas

M. Boulware, and Joshua M. Hulen (collectively "the Parties"), by and through their attorneys

below, have reached a satisfactory resolution of the issues raised in this matter and wish to end

this action pursuant to Rule 41 of the South Carolina Rules of Civil Procedure. All parties hereto

agree to bear their own costs and expenses associated with this action, and their undersigned

counsel stipulate to dismiss the action with prejudice.



WE SO STIPULATE AND AGREE:



G. Trenholm Walker, SC Bar No. 5777                        D. Jay Davis, Jr., SC Bar No. 12084
Thomas P. Gressette, Jr., SC Bar No. 14065                 Clement Rivers, LLP
James W. Clement, SC Bar No. 102467                        25 Calhoun Street, Suite 400
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Gressette@WGLF1RM.com                                      Attorney for Defendants
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Attorneys for Plaintiff




                                                 1
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                                    EXHIBIT B
                        SETTLEMENT AGREEMENT AND RELEASE

        This Settlement and Release Agreement ("Agreement") is made this                     day of

            , 2022 by and between E. David Grubbs, Jr. and Thomas M. Boulware (together the

"Guarantors") and Palmetto State Bank — Hampton a/kJa Palmetto State Bank a/k/a Palmetto

State Bank, N.A. (the "Bank") in order to resolve any and all outstanding debt owed to the Bank

by Guarantors arising out of, related to or in connection with the following loans: (i) Loan

Number 6974140, secured by a mortgage filed in Berkeley County against real estate owned by

0 United Drive, LLC (along with Loan 6974141 "Berkeley County Properties"); and (ii) Loan

Number 6974141, secured by a mortgage filed in Berkeley County against real estate owned by

Redbeard, LLC (Loan Number 6974140 and Loan Number 6974141 are together referred to as

the :Loans") (hereinafter collectively the "Settled Debts and Claims").          It is the intent of

Guarantors and the Bank that this Agreement shall resolve the Settled Debts and Claims.

       NOW, THEREFORE, for good and valuable consideration, the receipt and sufficiency of

which are hereby acknowledged, and in consideration of the mutual undertakings and promises

contained herein, the Guarantors and the Bank (collectively "the Parties"), hereby agree as

follows:

       1.       The Guarantors hereby release and forever discharge the Bank, its holding company

(Palmetto Bankshares), its subsidiary corporations and companies, its past, current, and future

directors, officers, employees, representatives, successors, and assigns from any and all causes of

action, claims, losses, and defenses involving the Settled Debts and Claims, whether known or

unknown, arising now or in the future, at law or in equity. This release excludes all rights of the

Guarantors and obligations of the Bank established by the terms of this Agreement.

       2.       The Bank will dismiss with prejudice, within three (3) business days after the Court
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approval of this Settlement Agreement, the action entitled Palmetto State Bank — Hampton a/k/a            zz
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Palmetto State Bank vs. E. David Grubbs, Jr., Thomas M. Boulware, and Joshua M. Hulen Civil
                                                                                                          -n -n
                                                                                                          FF
Action No. 2022-CP-10-02415 filed on May 26, 2022 in an attempt to collect against guaranties of          mm
                                                                                                             o
the debt owed by 0 United Drive, LLC and Redbeard, LLC. The dismissal is attached hereto as              CD IN)


                                                                                                          cn
Exhibit_.                                                                                                -00 "C)CD
                                                                                                               FA
        3.      The Bank does hereby release and forever discharge Guarantors from any and all

claims Bank might have against Guarantors for payment of or contribution towards any debt owed           >11

by 0 United Drive, LLC and Redbeard, LLC to the Bank or any deficiency judgment(s) the Bank              >>
                                                                                                         -0-13
obtains in the future related to debt owed by 0 United Drive, LLC and Redbeard, LLC. Any and             00
                                                                                                         zz
all guaranty documents executed by Guarantors securing any debt owed by 0 United Drive, LLC              o0
                                                                                                         00
or Redbeard, LLC are deemed to be void.                                                                  00
                                                                                                         zz
        4.      The Bank will dismiss without prejudice the foreclosure actions initiated against 0      r- m
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United Drive, LLC and Redbeard, LLC in Berkeley County. The parties shall bear their respective
                                                                                                         (1.)
                                                                                                           0
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attorneys' fees and costs. The dismissals are attached hereto as Exhibit_.
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        5.     The Bank hereby deems any Guaranties executed by the Guarantors involving the               00
                                                                                                         o _00
Loans to be void.                                                                                        0-10
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        6.     This Agreement shall be governed by and interpreted in accordance with the laws of

the State of South Carolina.

        7.     This Agreement may be executed in counterparts, and all counterparts shall be

deemed to constitute a single agreement. The execution and delivery of such counterpart by any

person shall have the same force and effect as if that person had executed all other counterparts.

       8.      All Parties agree and understand that time is of the essence as it pertains to sales of

the properties in question and that all Parties will work diligently with respect to their respective




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obligations herein associated with such sales in a timely manner.                                           9 0z
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           9.       All prior negotiations, representations, and agreements between the Parties of any
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kind relating to the disputes settled in this Agreement, whether oral, written, express, implied,           mm
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collateral or concurrent, are merged into this Agreement, and this Agreement shall constitute the           • r\-'
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complete and total agreement of the Settling Parties of any such disputes such that if the terms of          CD
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                                                                                                                "
this Agreement conflict with the terms of a prior agreement between the Parties, this Agreement

controls.                                                                                                   >

           10.      No modification of this Agreement shall be effective unless in writing and signed       >>
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by all the Parties.                                                                                          o
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           11.      By executing this Agreement, the undersigned representative of the Bank stipulates,      0
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agrees and warrants that he or she has the necessary and appropriate authority and capacity to              Oz°
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execute this Agreement and to make this Agreement fully binding upon and enforceable against the                m
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Bank.
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           12.      By entering into this Agreement, the Bank stipulates, agrees and warrants as follows:    m r„
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                                                                                                             1.)
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                 a. The terms of this Agreement are reasonable;                                                 (0
                                                                                                            o
                 b. The Bank is the sole and lawful owner of all rights and interests in the Loans and      oi
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                    their associated contracts, Promissory Notes, Guaranties, and mortgages, and the

                    Bank has not assigned, transferred, or conveyed (1) any right to collect the above

                    referenced Loans or (2) any contract, Promissory Note, Guaranty, or Mortgage

                    associated with the Loans or any right to enforce or collect the same.

        13.        By entering into this Agreement, the Guarantors stipulate, agree and warrant as

follows:

                 a. The terms of this Agreement are reasonable;



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              b. The Guarantors are the sole and lawful owner of all rights and interests in the claims    zz
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                 being released herein and have not assigned, transferred, pledged or otherwise                r-
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                 encumbered such claims                                                                    mm
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                                                                                                           r.) "
        14.     Each of the Parties has participated equally in the drafting of this Agreement and, as

such, this Agreement shall be construed equally in favor of all Parties and shall not be construed         -o -o
against any of the Parties due to the identity of the drafter.                                             f, -4"

        15.     The Parties represent and agree that they have had a full opportunity to read the terms

of this Agreement and to have counsel of their choice explain the terms of this Agreement to them.         >>
                                                                                                           -a 70
The Parties further represent and agree that they understand the terms of this Agreement, agree to         o
                                                                                                           zz
those terms and execute this Agreement voluntarily and without duress of any kind.                         o
                                                                                                           o°
        16.     This Agreement settles and compromises contested claims and defenses to avoid the          0°
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expense, risk, and other burdens of extended litigation. Neither this Agreement nor any provision             r-
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herein shall be considered an admission of liability, fault or wrongdoing by the Parties hereto who
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                                                                                                           cn ci)
deny such alleged liability, fault or wrongdoing.                                                          mm
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        17.     No statements or agreements set forth in this Agreement shall in any way inure to          CD
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the benefit of any third party. This Agreement shall not create or give to any third person or entity
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any right, claim, benefit, defense or cause of action against any party hereto nor shall it be construed

as any admission by any party that any compensation is owed to any third party not specifically

identified in this Agreement.

     [Signature Page Follows.]

     [Remainder of this Page Intentionally Left Blank.]




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                           - SIGNATURE PAGE —

        SETTLEMENT AND RELEASE AGREEMENT BY AND BETWEEN


                                    Guarantors:




                                    E. David Grubbs, Jr.

                                    Date:




                                   Thomas M. Boulware

                                   Date:




                                   Joshua M. Hulen

                                   Date:


                                   Bank:

                                   Palmetto State Bank — Hampton a/Ida Palmetto State
                                   Bank a/k/a Palmetto State Bank, N.A.
                                   By and through its



                                   Printed Name



                                   Signature

                                   Date:



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                                      EXHIBIT C                                                   r- m
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STATE OF SOUTH CAROLINA                              IN THE COURT OF COMMON PLEAS                 zz
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                                                          FIFTH JUDICIAL CIRCUIT                  r- >
COUNTY OF CHARLESTON
                                                       Civil Action No.: 2022-CP-08-01239
Palmetto State Bank—Hampton a/k/a Palmetto                                                       F
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State Bank,
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                         Plaintiff,                        NOTICE OF DISMISSAL                    wt.) N
       vs.                                                 WITHOUT PREJUDICE                     -0(T)a)
0 United Drive, LLC,
                         Defendant.                                                              64,5
                                                                                                 >
       Palmetto State Bank - Hampton a/k/a Palmetto State Bank, by and through its attorneys
                                                                                                 >>
below wishes to end this action pursuant to Rule 41 of the South Carolina Rules of Civil         1313
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Procedure and therefore files this Notice of Dismissal Without Prejudice.                        zz
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                                                    Respectfully Submitted,                      0°
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                                                    G. Trenholm Walker, SC Bar No. 5777          > (J)
                                                                                                 cn >
                                                    Thomas P. Gressette, Jr., SC Bar No. 14065   0.
                                                                                                    0
                                                    James W. Clement, SC Bar No. 102467          >>
                                                                                                    mw
                                                    Walker Gressette & Linton, LLC
                                                    PO Drawer 22167, Charleston, SC 29413        o
                                                    66 Hassell Street, Charleston, SC 29401       <0
                                                                                                 o0
                                                    Walker@WGLFIRM.com
                                                    Gressette@WGLFlRM.com                        CY1
                                                                                                 ▪ CY/
                                                                                                 0 0
                                                    Clement@WGLFIRM.com                          0
                                                    (843) 727-2200 Office

                                                   Attorneys for Plaintiff Palmetto State
                                                   Bank—Hampton a/k/a Palmetto State
                                                   Bank
              , 2022




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                                      EXHIBIT D
STATE OF SOUTH CAROLINA                              IN THE COURT OF COMMON PLEAS
                                                          FIFTH JUDICIAL CIRCUIT
COUNTY OF CHARLESTON
                                                       Civil Action No.: 2022-CP-08-01240
Palmetto State Bank—Hampton a/k/a Palmetto
State Bank,

                         Plaintiff,                        NOTICE OF DISMISSAL
       VS.                                                 WITHOUT PREJUDICE

RedBeard, LLC,
                         Defendant.

       Palmetto State Bank — Hampton a/k/a Palmetto State Bank, by and through its attorneys

below wishes to end this action pursuant to Rule 41 of the South Carolina Rules of Civil

Procedure and therefore files this Notice of Dismissal Without Prejudice.


                                                    Respectfully Submitted,


                                                    G. Trenholm Walker, SC Bar No. 5777
                                                    Thomas P. Gressette, Jr., SC Bar No. 14065
                                                    James W. Clement, SC Bar No. 102467
                                                    Walker Gressette & Linton, LLC
                                                    PO Drawer 22167, Charleston, SC 29413
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                                                    Clement@WGLFIRM.com
                                                    (843) 727-2200 Office

                                                    Attorneys for Plaintiff Palmetto State
                                                    Bank—Hampton a/k/a Palmetto State
                                                    Bank
              , 2022




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